ORGINAL    Case: 20-10231    Document: 00515586166 Page: 1 Date Filed: 10/01/2020
          Case 4:19-cr-00304-O Document 407 Filed 10/01/20 Page 1 of 1 PageID 1360
                                                                                          FILED
                                                                              October 01, 2020
                       United States Court of AppealsKAREN MITCHELL
                                                  CLERK, U.S. DISTRICT COURT
                            for the Fifth Circuit                                United States Court of Appeals
                                            ___________                                   Fifth Circuit

                                                                                        FILED
                                            No. 20-10231                        September 9, 2020
                                          Summary Calendar                         Lyle W. Cayce
                                           ___________                                  Clerk

              United States of America,

                                                                       Plaintiff—Appellee,

                                                 versus

              Lacey Renee Baxter Moore, also known as Lacey Kittrell,

                                                       Defendant—Appellant.
                               ____________________________

                              Appeal from the United States District Court
                                  for the Northern District of Texas
                                       USDC No. 4:19-CR-304-9 -O
                               ____________________________

              Before Jones, Barksdale, and Stewart, Circuit Judges.

                                          JUDGMENT

                      This cause was considered on the record on appeal and the briefs on
              file.
                      IT IS ORDERED and ADJUDGED that the judgment of the
              District Court is AFFIRMED.




                                                                 A True Copy
                                                                 Certified order issued Oct 01, 2020


                                                                 Clerk, U.S. Court of Appeals, Fifth Circuit
